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                                          May 4, 2021

FILED ELECTRONICALLY
The Honorable Gary S. Katzmann, Judge
U.S. Court of International Trade
One Federal Plaza
New York, New York 10278

Re:    Court No. 18-00238 – Response to Letter Concerning Redactions for the Public Version
       of Slip Op. 21-52

Dear Judge Katzmann:

       Counsel for Defendant-intervenors Novatex Limited and G-Pac Corporation (collectively,
“Novatex”) hereby respond to the Court’s questions regarding designations and bracketing of
confidential information in Slip Op. 21-52.

       Counsel for Novatex have reviewed the bracketing in Slip Op. 21-52. Based on our
review, we do not believe any changes are necessary. We do not believe that any information not
already in brackets is confidential. Nor do we believe that any information already in brackets is
not confidential.

                                             Respectfully submitted,

                                             /s/ Brenda A. Jacobs
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                               CERTIFICATE OF SERVICE

       I hereby certify that copies of the attached letter have been served by the Court’s CM/ECF
system, on May 4, 2021, addressed to the following parties:

       On behalf of DAK Americas LLC, et al.:
       Paul Charles Rosenthal
       Kelley Drye & Warren LLP
       3050 K Street, N.W. Suite 400
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       On behalf of the United States:
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       Office of the General Counsel
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       On Behalf of Niagara Bottling, LLC:
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       On Behalf of iResin, LLC:
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       1330 Connecticut Avenue, NW
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                                                           /s/ Brenda A. Jacobs
                                                           Brenda A. Jacobs
